                     Case 2:07-cr-20168-JWL                                   Document 48                      Filed 01/15/08                     Page 1 of 3


AO 472 (Rev. 3/86) Order of Detention Pending Trial


                                                      United States District Court
                                                                           DISTRICT OF KANSAS

             UNITED STATES OF AMERICA
                       v.                                                                      ORDER OF DETENTION PENDING TRIAL

                             SHEVEL M. FOY                                                     Case Number: 07-20168-04-JWL-DJW
                                         Defendant

     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts
require the detention of the defendant pending trial in this case.
                                                           Part I - Findings of Fact
9 (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a (federal offense) (state
      or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed) that is
      9 a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
      9 an offense for which the maximum sentence is life imprisonment or death.
      9 an offense for which a maximum term of imprisonment of ten years or more is prescribed in

             9 a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                    U.S.C. § 3142(f) (1)(A)-(C), or comparable state or local offenses.
9 (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
      offense.
9 (3) A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
      the offense described in finding (1).
9 (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
             assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                             Alternative Findings (A)
9 (1) There is probable cause to believe that the defendant has committed an offense
      9 for which a maximum term of imprisonment of ten years or more is prescribed in ________________________________
      9 under 18 U.S.C. § 924(c).
9 (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
             reasonably assure the appearance of the defendant as required and the safety of the community.
                                                           Alternative Findings (B)
: (1) There is a serious risk that the defendant will not appear.
: (2) There is a serious risk that the defendant will endanger the safety of another person or the community.



                                          Part II - Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by (clear and convincing evidence) (a
preponderance of the evidence) that

                                                                                   (See attached pages)

                                                   Part III - Directions Regarding Detention
      The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United
States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the
United States marshal for the purpose of an appearance in connection with a court proceeding.

Dated: January 15, 2008                                                                        s/ David J. Waxse
                                                                                                             Signature of Judicial Officer

                                                                                               DAVID J. WAXSE, U.S. MAGISTRATE JUDGE
                                                                                                             Name and Title of Judicial Officer

*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15,
1980 (21 U.S.C. § 955a).
            Case 2:07-cr-20168-JWL           Document 48        Filed 01/15/08      Page 2 of 3



U.S.A. v. Shevel M. Foy
Criminal Action 07-20168-04-JWL-DJW

                      Part II - Written Statement of Reasons for Detention

    There is a series of factors I have to look at to determine whether or not there are conditions of release

that will assure your appearance and the safety of the community.

    The first factor is the nature and circumstances of the offense charged, including whether the offense

is a crime of violence or involves a controlled substance or firearms. Clearly it involves guns and drugs so

that is a negative.

    The weight of the evidence is the next factor. There has been a Grand Jury Indictment as well as the

testimony so that is a negative.

    The next factor is the history and characteristics of the person, including your physical and mental

condition. There is nothing about your physical and mental condition that would be a problem with release.

    Family ties appear to be positive.

    Employment is not positive because it does not appear you have been employed since the start of this

investigation.

    Financial resources are somewhat problematic because admittedly having $12,000 in a bank account,

and the kind of evidence that was proffered in terms of the amount of drugs that were being involved in this

scheme, are very negative in terms of your ability to flee.

    The next factor is length of residence in the community, which is a positive.

    Community ties are positive.

    The next factor is your past conduct, which includes history relating to drug or alcohol abuse, criminal

history, and record concerning appearance at court proceedings. History relating to drug or alcohol abuse

appears to be positive. You have the one felony and it is a little unclear whether you appeared when you

were supposed to on the 2005 charge.



                                                      2
            Case 2:07-cr-20168-JWL           Document 48        Filed 01/15/08      Page 3 of 3



   The next factor is whether at the time of the current offense or arrest you were on probation, parole, or

other release. That is a little unclear concerning the 2005 circumstances. You may have been on release,

but that is not clearly shown.

   The final factor is the nature and seriousness of the danger to the community that would be posed by

your release. When there are allegations of distribution of hundreds of kilos of coke and crack, and then

add guns to it and the fact there have been guns fired in the middle of this sequence of events, whether there

is any evidence that you have fired guns, that is a substantial danger.

   Considering all those factors together, I do not think I can come up with conditions that will assure the

safety of the community; therefore, you will remain detained.




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